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                                   6                                UNITED STATES DISTRICT COURT

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                                                                   NORTHERN DISTRICT OF CALIFORNIA
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                                  10   UNITED STATES OF AMERICA,
                                  11                  Plaintiff,                            No. CR 14-00175 WHA

                                  12           v.
Northern District of California
 United States District Court




                                  13   PACIFIC GAS AND ELECTRIC                             REQUEST FOR MONITOR TO
                                       COMPANY,                                             RESPOND RE COMPLIANCE AND
                                  14                                                        TO PG&E'S NOVEMBER 3
                                                      Defendant.                            RESPONSE REGARDING MONITOR
                                  15                                                        LETTER
                                  16

                                  17        On October 16, 2020, the Court received a letter from the federal monitor
                                  18   addressing PG&E’s compliance with its vegetation management plan. PG&E submitted
                                  19   its response November 3, 2020. The Court requests a response from the monitor
                                  20   addressing the following topics:
                                  21            1. To what extent is PG&E currently (and since the monitor's last update to
                                  22                the Court) in compliance, and to what extent is it not in compliance, with
                                  23                its conditions of probation, especially with respect to:
                                  24                    a) Following Sections 4292 and 4293 of the California Public
                                  25                        Resources Code, CPUC General Order 95, and FERC FAC-003-4;
                                  26                    b) Following PG&E's Wildlife Mitigation Plan and its requirements
                                  27                        regarding enhanced vegetation management;
                                  28
                                   1                  c) Requirement that PG&E maintain “traceable, verifiable, accurate,

                                   2                     and complete records of its vegetation management efforts” (Dkt.

                                   3                     1040); and

                                   4                  d) Requirement that PG&E employ pre-inspectors to identify trees and

                                   5                     limbs out of compliance with the laws listed in (a) and post-

                                   6                     inspectors to spot-check the work of those contracted to remove

                                   7                     trees and limbs that threaten lines?

                                   8           2. The monitor shall as well please comment on PG&E's response to the

                                   9              original monitor letter.

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                                  12       IT IS SO ORDERED.
Northern District of California
 United States District Court




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                                  14   Dated: November 30, 2020.

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                                                                                           WILLIAM ALSUP
                                  17                                                       UNITED STATES DISTRICT JUDGE
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